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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

TAMARA JEAN FARRELL,                )
an individual,                      )
                                    )               CASE NO.:
            Plaintiff,              )
vs.                                 )
                                    )
CAWTHON-HOLLUMS                     )
PROPERTIES, INC.,                   )
a Georgia Corporation,              )
                                    )
            Defendant.              )
____________________________________)

                                  COMPLAINT

      Plaintiff, TAMARA JEAN FARRELL, through her undersigned counsel,

hereby files this Complaint and sues CAWTHON-HOLLUMS PROPERTIES,

INC., a Georgia Corporation, for injunctive relief, attorney’s fees and costs

pursuant to 42 U.S.C. § 12181 et. seq., (“AMERICANS WITH DISABILITIES

ACT” or “ADA”) and allege:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et. seq., (hereinafter




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referred to as the “ADA”). This Court is vested with original jurisdiction pursuant

to 28 U.S.C. §§ 1331 and 1343.

      2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) and

Rule 3.1, Local Rules of the United States District Court for the Northern District

of Georgia.

      3.      Plaintiff, TAMARA JEAN FARRELL, (hereinafter referred to as

“MS. FARRELL”), is a resident of Henry County, Georgia.

      4.      MS. FARRELL is disabled and suffers from Congenital Spastic

Cerebral Palsy Diplegia.     She requires the use of either a special cane or a

wheelchair as her primary means of mobility.

      5.      Due to her disability, MS. FARRELL is substantially impaired in

several major life activities, including walking.

      6.      Defendant CAWTHON-HOLLUMS PROPERTIES, INC., a Georgia

Corporation, (hereinafter referred to as “DEFENDANT”), is registered to do

business in the State of Georgia. Upon information and belief, DEFENDANT is

the owner and/or operator of the real property and improvements which are the

subject of this action, to wit: the Property, known as Riverdale Plaza, located at

6600 Highway 85, Riverdale, Georgia 30274.



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      7.      All events giving rise to this lawsuit occurred in the Northern District

of Georgia, Clayton County, Georgia.

                   COUNT I - VIOLATION OF TITLE III OF THE
                     AMERICANS WITH DISABILITIES ACT

      8.      Plaintiff realleges and incorporates into this cause of action each and

every allegation contained in the previous paragraphs of this Complaint.

      9.      The Property, a shopping center, is open to the public and provides

goods and services to the public.

      10.     MS. FARRELL has visited the Property and attempted to utilize the

goods and services offered at the Property.

      11.     While at the Property, MS. FARRELL experienced serious difficulty

accessing the goods and utilizing the services therein due to the architectural

barriers discussed herein.

      12.     MS. FARRELL continues to desire to visit the Property, but fears that

she will continue to experience serious difficulty due to the barriers discussed

herein, which still exist.

      13.     MS. FARRELL plans to and will visit the property in the near future

to utilize the goods and services offered thereon. However, but for the barriers to

access located at the Defendant’s Property, Plaintiff would visit more often.

      14.     Defendant is in violation of 42 U.S.C. § 12181 et. seq. and 28 C.F.R.


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§ 36.304 et. seq. and are discriminating against the Plaintiff due to Defendant’s

failure to provide and/or correct, inter alia, the following architectural barriers

which hindered Plaintiff’s access throughout the Defendant’s Property:

            A.     Plaintiff encountered inaccessible parking in front of Boost

            Mobile due to slopes in excess of 1:48. This condition made it

            difficult for Plaintiff to transfer in and out of her vehicle and increased

            her risk of a fall.

            B.     Plaintiff encountered inaccessible parking throughout the

            Property due to missing/damaged signage, low signage and missing

            access aisles in front of Boost Mobile and Dollar General. These

            conditions made it difficult for Plaintiff to identify and use the

            designated accessible parking areas.

            C.     Plaintiff encountered inaccessible parking in front of the Food

            Depot Supermarket due to low signage, access aisles with improper

            dimensions and obstructed access aisles. Specifically, the designated

            parking in front of the Food Depot Supermarket contains several

            access aisles that are blocked with shopping cart return stations and

            another access aisle that is obstructed by a fire hydrant.          These

            conditions made it difficult for Plaintiff to safely exit/return to her

            vehicle once she located the accessible spaces.

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              D.    Plaintiff encountered inaccessible sidewalks throughout the

              Property due to excessive running slopes, changes in elevation and

              pavement in disrepair. Specifically, the section of sidewalk running

              between DBS Sounds and Dollar General is excessively sloped and

              lacks handrails. The section of sidewalk in front of Dollar General

              also contains large cracks and divots in the pavement.            These

              conditions made it difficult for Plaintiff to maneuver over this route to

              access the businesses and increased her risk of a fall.

              E.    Plaintiff encountered inaccessible curb ramps in front of Boost

              Mobile, Food Depot and Angie’s Beauty Supply due to disrepair,

              excessive slopes and excessive lips that are not flush with the ground.

              These conditions increased Plaintiff’s chances of falling and required

              that she use extra caution maneuvering over these ramps.

      15.     Defendant either does not have a policy to assist people with

disabilities or refuses to enforce such a policy if it does exist.

      16.     Independent of her intent to return as a patron to the Property,

Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied.

      17.     Removal of the barriers to access located on the Property is readily

achievable, reasonably feasible and easily accomplishable without placing an

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undue burden on Defendant.

      18.     Removal of the barriers to access located on the Property would allow

Plaintiff to fully utilize the goods and services located therein.

      19.     The Plaintiff has been obligated to retain undersigned counsel for the

filing and prosecution of this action. Plaintiff is entitled to have her reasonable

attorney’s fees, costs, and litigation expenses paid by Defendant.

      WHEREFORE, the Plaintiff demands judgment against CAWTHON-

HOLLUMS PROPERTIES, INC., and requests the following injunctive and

declaratory relief:

              A.      That the Court declares that the Property owned and

                      operated by DEFENDANT is in violation of the ADA;

              B.      That the Court enter an Order directing DEFENDANT to

                      alter its property to make it accessible and useable by

                      individuals with disabilities to the full extent required by

                      Title III of the ADA;

              C.      That the Court enter an Order directing DEFENDANT to

                      evaluate and neutralize its policies and procedures

                      towards persons with disabilities for such reasonable time

                      so as to allow DEFENDANT to undertake and complete

                      corrective procedures;

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  D.    That the Court award reasonable attorney’s fees, costs

        (including expert fees), and other expenses of suit, to the

        Plaintiff; and

  E.    That the Court award such other and further relief as it

        deems necessary, just and proper.


                     Respectfully Submitted,

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                     By: /s/ John A. Moore        .




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